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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                                 MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION
                                                               CIVIL ACTION: 01-CV-12257-PBS


THIS DOCUMENT RELATES TO:

State of Arizona v. Abbott Labs., Inc., et al.,
        Cause No. 1:06-CV-11069-PBS



                  [PROPOSED] ORDER GRANTING MOTION FOR DISMISSAL OF
                               DEY, INC. WITH PREJUDICE


            The Motion for Dismissal of Dey, Inc. (Dey) with Prejudice is hereby GRANTED.

            Defendant Dey is hereby dismissed from the above-referenced action.

            The parties shall each bear their own costs.

            This dismissal has no effect on the State of Arizona’s claims or allegations against any

parties other than Dey.




            SO ORDERED this ___ day of __________, 2010.




            HON. PATTI B. SARIS, USDJ




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                                CERTIFICATE OF SERVICE

        I, Steve W. Berman, hereby certify that a true and correct copy of the above document
was served on the attorney of record for each party via the Court’s electronic filing system this
19th day of April, 2010.


                                              By        s/ Steve W. Berman
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